Case 19-17021 Doc15 Filed 06/06/19 Page 1 of 37

Fill in this information to identify your case: bes ; i
g y Oe

 

Debtor 1 chilip itLam Clow

First Name Middle Name Last Name

Debtor 2 2019 JUN =-5 AM 3: a ‘

(Spouse, if filing) First Name Middle Name Last Name

      

Pree FES

United States Bankruptcy Court for the: Greenies District of MOD U.S. BANKRUPT on ‘ u
. DISTRICT OF MARYL 4%
Case number 19 - i141 O 2 \ N VA GREF Bhdck this is an

(if known) amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

| Part 4: | Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B $

1b. Copy line 62, Total personal property, from Schedule A/B io... sccccccscccssescesssssssesessssesssesvsssesssscssesesssssesesisivececeueeserevenees $ yy d 1G600

tc. Copy line 63, Total of all property on Schedule A/B ooo...cccccccsssssssssssssscsssssssecsssssssscssssssessessrsssssessessssasesssestitusssesarseceesseeece 5 Y I@
Summarize Your Liabilities

 

 

 

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
s 344 510

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims)’ from line Ge of Schedule E/F voeccccccccsccccccsccccssececsecceccecescees $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F wo... ccceeeeseecesecees + 5 4 /5 Ly 322

Your total liabilities $ | 4 ¥ | quel

 

 

 

 

Summarize Your Income and Expenses

4. Schedule I: Your income (Official Form 1061) j {
Copy your combined monthly income from line 12 of SCHECUIC I .......cccceccsccsssssssesecssesssecssecsesssessscsesssecssssssssessussaecessensonteess $

5. Schedule J: Your Expenses (Official Form 106J) : ¥ 0 O
Copy your monthly expenses from line 22c Of SCHECUIC J .o...eccscccccssesssssessssseesessssstesecssesssssessessessessesuvsstersersessstesssaeesceseeteeee $ 3400 |

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 

 
Case 19-17021 Doc15 Filed 06/06/19 Page 2 of 37

Debtor 1 i ' | W Case number (if known) 19 -/9O2

ist e Middle Name Last Name

Er Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under chapters?) 11, or 13?

Ope have nothing to report an this part of the form. Check this box and submit this form to the court with your other schedules.
. Yes

 

7. What Xind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official qG 7
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ A

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

Total claim

From Part 4 on Schedule E/F, copy the following:

A

a

9a. Domestic support obligations (Copy line 6a.)

9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

rf

9d. Student loans. (Copy line 6f.) $

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ PD

priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$

 

9g. Total. Add lines 9a through 9f. , $

E

 

 

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
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Fill in this information to identify your case and this filing:

Debtor 4

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: fern be Hoistrict of MD
Case number } ~ [70 oe. ]

 

CJ Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 42/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

LY Ne*Go to Part 2.
Yes. Where is the property?

i ?
2, the property? Check all that apply. Do not deduct secured claims or exemptions. Put

| | Wf Ca lhoun St ‘ Single-family home the amount of any secured claims on Schedule D:
1.1. } j | QO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description

LI Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?

Q) Land $ 33 7,00 $
QO
Edaewatet MD o] 37 Q en Propeny Describe the nature of your ownership

city UO State ZIP Code OD other interest (such as fee simple, tenancy by

the entireties, or a life estate), if known.
a. an interest in the property? Check one.
D

Ann € Arunde| ebtor 1 only

County O) Debtor 2 only
(4 Debtor 4 and Debtor 2 only Q (eee in ‘ this Is yommmunity property
see instructions

 

 

 

(J At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

i ?
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
O Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

4.2. O buplex or multi-unit buildin Creditors Who Have Claims Secured by Property.

Street address, if available, or other description P . "9
Q) Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?
CJ tand $ $

> CJ investment property
: . Describe the nature of your ownership
- h . .

City State ZIP Code UO) Timeshare interest (such as fee simple, tenancy by
Q) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C) Debtor 1 only

County CQ) Debtor 2 only
LD Debtor 4 and Debtor 2 only L) Check if this is community property
C2 At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1

 

 
 

Case 19-17021 Doc15 Filed 06/06/19 Page 4 of 37

Debtor 1 p h ly O

First Name [Micdte Name

Willam Clow

ast Name

 

 

 

 

What is the property? Check all that apply.
O Single-family home

 

con nnser vam 192170

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

 

 

 

 

4.3. Co Creditors Who Have Claims Secured by Property.
Street address, if available, or other description QO Duplex or multi-unit building
QO Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? Portion you own?
OQ) Land $ $
CQ investment property
City State. ZIP Code (Q Timeshare Describe the nature of your ownership
QO interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
Q) Debtor 1 only
County CY Debtor 2 only
CJ Debtor 1 and Debtor 2 only (CI) check if this is community property
C) At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 334 CCO
you have attached for Part 1. Write that number here. .............::0ccccescccssensessesenseseeseestetseeeesseseceessessseesseeeseeeceeeess >

he Describe Your Vehicles

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. {f you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Meru _

3.14. Make:
Model: Mountanee
Year:

Approximate mileage: 6 O

Other information:

 

 

If you own or have more than one, describe here:

3.2, Make:
Modet:
Year:
Approximate mileage:

Other information:

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
a 1 only

U) Debtor 2 only

O) Debtor 1 and Debtor 2 only

Q At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
U) Debtor 1 only

QO) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

(2) At teast one of the debtors and another

LJ Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

st O60 s v4

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

page 2

 
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WwW Case number (irknawn) Ig ~ [ 10 al

    

 

 

 

 

 

Debtor 1
First Name
3.3, Make: Who has an interest in the property? Check one. —_9 not deduct secured claims or exemptions. Put
O) Debtor ¢ onl the amount of any secured claims on Schedule D:
Model: ebtor ¢ only Creditors Who Have Claims Secured by Property.
C) Debtor 2 only
Year O Debtor 4 and Debtor 2 only | Current value of the Current value of the
‘ : . u own
Approximate mileage: 0 (2 Ai least one of the debtors and another properly P y
Other information:
: L) Check if this is community property (see $ 5
instructions)
3.4, Make: Who has an interest in the property? Check one. —_ not deduct secured claims or exemptions. Put
QO) Debtor 1 on! the amount of any secured claims on Schedule D:
Model: eptor 5 onty Creditors Who Have Claims Secured by Property.
. CY Debtor 2 only
Year: Q) Debtor 1 and Debtor 2 only Current value of the Current value of the
: . . ? ion you own
Approximate mileage: C2 At least one of the debtors and another property P y
Other information:
— CJ Check if this is community property (see $ $

 

instructions)

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

oa
Yes
4.1. Make: E ¢ »v d we an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put

Debtor 4 ont the amount of any secured claims on Schedule D:
Model: rn eptor I only : Creditors Who Have Claims Secured by Property.

LY Debtor 2 ont
Year: IG G Oo y

U) Debtor 4 and Debtor 2 only Current value of the Current value of the

Other information: C1 At least one of the debtors and another entire property? portion you own?

Needs A lofol |
Wry, RV no+ Q) Check if this is community property (see $ 20CO OO $ 20-0}

. instructions)
SHe Vari

 

 

lf you own or have more than one, list here:

42. Make: C Ray we an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put

Debtor 1 onl the amount of any secured claims on Schedule D:
Model: ebtor " only Creditors Who Have Claims Secured by Property.

 

 

 

 

 

 

y. ? / L) Debtor 2 only
ear: 1° g
CJ Debtor 1 and Debtor 2 only entire property? the vortion you own the
Other information: () At teast one of the debtors and another : :
‘
Nok opetating © check this e commun s O +s G
. Check if this is community property (see 4
NS ON o) e, instructions)
QU
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages s§ AOD-00
you have attached for Part 2. Write that number Were ooo... ccc escceseseeteseseecesssescnssenesevenevenstensnsenssseevscerecseavacesacessesenenseeneas >

 

 

 

Official Form 106A/B Schedule A/B: Property page 3

 

 
 

eS Describe Your Personal and Household Items

Do you.own or have any legal or equitable interest in any of the following items?

 

1

1

1

4

4

 

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cow Phi _Wilham Clow

FirstName “ J Middle Name Last Name

Case number (it known) l g ~ / 70 2 /

 

—_

6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

—

Current. value of the
portion you.own?

Do ‘not:deduct secured claims
or exemptions.

 

Q i
Wve. Describe......... Drove, Micowaye., dishwasher 4 Reftrigeratar

 

s 900-00

 

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

 

LI No
Yes. Describe..........

aeilPhone

 

§ -00

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
WNo

 

(J Yes. Describe..........

 

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes ~
and kayaks; carpentry tools; musical instruments
No

 

 

C) Yes. Describe..........

 

 

0. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No

 

CI} Yes. Describe..........

 

 

 

 

=

. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

 

CO) No
’ Everday clothes and shoeS

Wes. Describe..........

 

5 60-00

 

 

2. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

 

gold, silver
Kio

CI Yes. Describe..........

 

 

 

 

3. Non-farm animals
Examples: Dogs, cats, birds, horses

Wo

 

CL} Yes. Describe..........

 

 

 

 

4. Any other personal and household items you did not already list, including any health aids you did not list

Bio

 

LI Yes. Give specific
information.

 

 

 

5. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here sss ssnsestnisinntnirnninaitninsnanuiivnisuee >

Official Form 106A/B Schedule A/B: Property

 

 

 

 

 

page 4

 

 
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Clow

Case 19-17021

Philo Witham

FirstName [ Made Name Last Name ,

} arta: Describe Your Financial Assets

Debtor 1

Case number (if known). lg ~ l LO 2Z/

 

 

Do you. own or have any legal or equitable interest in any of.the following?

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

CL} No

17. Deposits of money
Examples: Checking, savings, or other financial accounts:. certificates of deposit; shares in credit unions, brokerage houses,
A and other similar institutions. !f you Have multiple accounts with the same institution, list each.

No
Institution name:

17.1. Checking account:

17.2. Checking account:

 

17.3. Savings account:

 

17.4. Savings account:

 

17.5. Certificates of deposit:

 

17.6. Other financial account:

 

17.7. Other financial account:

 

 

17.8. Other financial account:

 

17.9. Other financial account:

 

18. Bonds, mutual funds, or publicly traded stocks
a Bond funds, investment accounts with brokerage firms, money. market accounts

No
Institution or issuer name:

—

Current value:of the
portion you own?

Do not:deduct secured claims
or exemptions.

Cash: 0000 $ oO -OO

1

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

(No

 

Name of entity: % of ownership:

 

 

C) Yes. Give specific 0% %

information about 0
them... ccc 0% %
0% %

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property

 

page 5

 
 

 

 

 

 

 

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Debtor 1 Ph | 10 Wi | id mM Clow Case number (it known) | Y = l TO a /

First Name © ™ Middle Name Last Name

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

a

() Yes. Give specific Issuer name:

information about .
THEM. occ $

 

 

 

21. Retirement or pension accounts
va Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
L) Yes. List each
~ account separately. Type of account: Institution name:

401(k) or similar plan:

 

Pension plan:

 

IRA:

 

Retirement account:

Keogh:

 

Additional account:

 

Additional account:

SRRAKRLK

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with tandlords, prepaid rent, public utilities (electric, gas, water), telecommunications

oc or others
No

i Institution name or individual:

Electric: $ ¢ / )

Gas: $ —_D___
Heating oil: 5 g )

Security deposit on rental unit:

$
Prepaid rent: $ ( D
Telephone: $ g )

Water:

 

 

 

 

 

 

 

Other:

 

$
Rented furniture: $
$

23. Yn (A contract for a periodic payment of money to you, either for life or for a number of years)
No

i Issuer name and description:

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 6

 

 
 

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beter Philip Willam clow cae nmeremm IA-LTOR]

First Name Middle Name Last Name

 

 

 

24. Interests in an education IRA, in an account ina qualified ABLE program, or under a qualified state tuition program.
w~ §§ 530(b)(1), 529A(b), and 529(b)(1).
No

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

s_ DPD

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers

ee for your benefit
No

CJ Yes. Give specific D

information about them.... $

 

 

 

 

, 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
: ~ internet domain names, websites, proceeds from royalties and licensing agreements
No

Cl Yes. Give specific | |
information about them... : $

27. Licenses, franchises, and other general intangibles
wa Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No

 

 

 

 

 

C] Yes. Give specific D
information about them.... $
Money. or property owed.to you? : Current value of the

portion. you own?
Do not deduct secured
Claims or- exemptions:

28. “ owed to you
No

Q) Yes. Give specific information
about them, including whether
you already filed the returns
and the tax years. oo...

 

State:

| Federal: $ D
$

Local:

 

 

_ 29. Family support
~ Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

 

No
QO) Yes. Give specific information..............
Alimony: $ D
Maintenance: $
Support: $ eS
Divorce settlement: $ —
Property settlement: $F

 

 

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
ov Social Security benefits; unpaid loans you made to someone else
No

C) Yes. Give specific information............ D
$

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

a ee a

 
 

Case 19-17021 Doc15 Filed 06/06/19 Page 10 of 37

Philip Will'om Clow

FirstName I Middle Name Last Name

Debtor 1 Case number (if known).

 

Io -(Joa/

 

 

 

 

 

31. Interests in insurance policies
Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

No

Q) Yes. Name the insurance company

, - Company name:
of each policy and list its value. ...

Beneficiary:

 

Surrender or refund value:

@

 

_ 32. Any interest in property that is due you from someone who has died

propgrty because someone has died.
No

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitied to receive

 

QJ Yes. Give specific information...

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
oe Accidents, employment disputes, insurance claims, or rights to sue
No

 

CQ Yes. Describe each claim...

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

ee claims
No

 

C) Yes. Describe each claim...

 

 

 

 

 

35. Any financial assets you did not already list

 

No cm
Cl Yes. Give specific information............

DB

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here

 

 

 

 

 

 

5 50-00

 

 

ESE vescrive Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.0

 

- 37.Do u own or have any legal or equitable interest in any business-related property?
. Go to Part 6.

Yes. Go to line 38. yes

38. Accounts receivable or commissions you aiready earned

CJ No

Current: value of the
portion you-own? ~

Do not deduct’secured claims
or exemptions.

 

C) Yes. Describe.......

 

39, Office equipment, furnishings, and supplies

CJ No

Examples: Business-related computers, software, modems, printers, copiers, fax machines, tugs, telephones, desks, chairs, electronic devices

po

 

C] Yes. Describe.......

 

 

 

so

 

Official Form 106A/B Schedule A/B: Property

nan

 

page 8

 

 
 

Debtor 1

First Name

Case 19-17021

Ph ilio Wi liam Clow

| Middle Name

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Case number (if known LG ~~
¢ ).
Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

QC) No

Yes. Describe.......

41. Inveptory
No
Q) Yes. Describe.......

(7Og/

 

 

Lhave tools werk ursth to db my Job. s 44,020.00

 

 

 

42. we in partnerships or joint ventures

No
CJ Yes. Describe......,

Name of entity:

% of ownership:
%
%

 

%

 

43. Customer lists, mailing lists, or other compilations

No

C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C..§ 101(41A))?

C] No

(I Yes. Describe........

44. Any
No

LI Yes. Give specific
information .........

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part §. Write that number here

 

 

 

 

iness-related property you did not already list

 

 

 

 

 

 

 

 

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
LJ Yes. Go to line 47.

47. Farm animals

y Livestock, poultry, farm-raised fish

No

 

 

 

 

Current value of the
portion you own?

Do not deduct secured. claims
or exemptions.

 

 

 

 

Official Form 106A/B

Schedule A/B: Property

 

 

page 9
 

 

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Debtor 1 Philp Wi lliam Clow Case number (if known) [d- [ ZO ot/

First Name iddle Name Last Name

48. Crops—either growing or harvested

No

Cl ‘Yes. Give specific
information. ............ . ‘ ‘ $

 

 

 

_ 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

UL No

 

 

 

 

 

 

 

 

_ 51. Any farm- and commercial fishing-related property you did not already list
— ONo

LI Yes. Give specific
information. ............ $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for Pages you have attached $ ( A)
for Part 6. Write that number here oc cccsessssntsesesuesssntnnsststinnntnstntstiaisiuuistsivansiteitiiie >

 

 

 

 

 

 

EAE ve scribe All Property You Own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples, Season tickets, country club membership

aK

C) Yes. Give specific $_______
information. ............

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here sesecsaeeseessaeeseqaneeneeseeascsseesicesetsseensesseenecssesse > $s @D

 

 

 

 

 

 

 

ee i= the Totals of Each Part of this Form ve

56. Part 1: Total real estate, Hin@ 2. ennnnnnnnininnnnsiininnninnnnnssinnnnnnnnniitie > +334 WO.
56. Part 2: Total vehicles, line 5 $ Z CO . oO O
57. Part 3: Total personal and household items, line 15 $ 5 d O . iY, oe

 

_ 58. Part 4: Total financial assets, line 36 $ § oO : oo
59. Part 5: Total business-related property, line 45 $ tf 000 O 0
_ 60. Part 6: Total farm- and fishing-related property, line 52 $. OC

 

_ 61. Part 7: Total other property not listed, line 54 +¢ Dm 4 10 00
co . . yous a hows N ws
_ 62. Total personal property. Add lines 56 through 61... $ Y 100 Ww Copy personal property total > +¢ Bae

 

 

 

63. Total of all property on Schedule A/B. Add line 55 + line 62.......ccccssccsssesssssassessasteussssssassiussssusassetesseeesseeccc, $ 33 g, 160.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

 

 
 

 

Case 19-17021 Doc15 Filed 06/06/19 Page 13 of 37

RMT M olen tala moM (ea eri your case:

Debtor 1 DD ji L O

First Name Middle Name ‘Cast Name

Debtor 2

 

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court rortne:( Ot nbel} District of MD
Case number Ke | = / 7021 () Check if this is an

(If known)

 

amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equaily responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
Space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

EEE contity the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

a You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line. on — Current value of the © . Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you:own
Copy the value from Check only one box for each exemption.
Schedule A/B :
Brief ’ ‘ H
description: Sagle family $ 353 t WO 35 :
: 100% of fair market value, up to £ "
Line from
Schedule A/B: - l . l any applicable statutory limit tl &. S : C. od 20hX2)
Brief
description: —_——_—___—__—._ § Os
Line from C1 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description; =§=£————_—_____.._ § C$
Line from OC) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

OC) No

es. Did you.acquire the property covered by the exemption within 1,215 days before you filed this case?
=
Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of Z

 

 
 

Case 19-17021 Doc15 Filed 06/06/19 Page 14 of 37

cow Lh Wilkam Chu coonnevnm L9>LQOL/

Middle Name Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 sesieonas Page

Brief:description:of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own

Copy the Value from Check only one box for.each exemption

Schedule A/B
Brief N
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: . any applicable statutory limit
Brief
description, § ——————________ § Os
Line from C1 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: 4=——————____.___ § Os
Line from OQ) 100% of fair market value, up to
Schedule A/B:. ————— any applicable statutory limit
Brief
description. § ————__—._____ § Lis
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief .
description, § ——————_—________ $__ Os
Line from Cd 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Briet oo
description. . ——_———_________ § Os
Line from CQ) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description. § —————_—______.__ § Os
Line from CQ) 100% of fair market value, up to
Schedule A/B: . any applicable statutory limit
Brief
description: = —————_—________ § Os
Line from ' ‘ : C) 100% of fair market value, up to
Schedule A/B; ——— : any applicable statutory limit
Brief /
description; § ————~——_______ §. Os
Line from CD 100% of fair market value, up to
Schedule A/B:. ———— any applicable statutory limit
Brief
description, § ————_—_______ §. Ls
Line from CQ) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description, =——————-___  $_——sdOd*«dO
Line from CJ 100% of fair market value, up to
Schedule A/B:: ———— any applicable statutory limit
Brief
description. —————___..___ § Os
Line from C1 100% of fair market value, up to
Schedule 4/8: ——— any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of y=

SS ETZ’-CCCOC OO re rc ee

 

 
 

Case 19-17021 Doc15 Filed 06/06/19 Page 15 of 37

 

 
 

Fill in this information to identify your case:

Debtor 1 Phil [ ? Wi } aM

First Name Middle Name

 
  

   

Clo

Last Name

    
 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Green belt District of / V lp
Case number 19 - [70 zZ/

(If known)

 

       

Q) Check if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
mee this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
es. Fill in all of the information below.

EEEEEE List au secured Claims

2. List all secured claims. If a creditor has more than one.secured claim;-list the creditor separately Ain,
for each claim. If more than one creditor’ has. a particular claim, list the other creditors in: Part 2. .
As much as possible, list the claims in alphabetical order according to the créditor’s name.

21 one Man Eran! Describe the property that secures the claim: 5 ¥y a 00 . st, WO $ aa
Creditor’s Name 200 S Merc ul ry Mo .

OF lf
date you file, the claim is: Check all that apply.

Number Street
Contingent
Bowe i MO AOS QO Uniquideted

 
  
 

 

 

oO

 

 

 

 

 

City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Debtor 1 oniy An agreement you made (such as mortgage or secured
C) debtor 2 only car loan)
O) Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
C) Atleast one of the debtors and another C1 Judgment lien from a lawsuit

 

Other (including a right to offset)
QC) Cheek if this claim relates to a
community debt 9 /
Date debt was incurred S0lS —mumachaSt 4 digits of account number 5 ti & aan

22 Ml. Pe rc Describe the property that secures the claim: $ 394 O50 $. 3344, a $ na
Wales pid) S'9g!e family hore.

   

   

 

 

Creditor’s Name ¢

 

 

 

 

 

Number St
we date you file, the claim is: Check all that apply.
Contingent

Copge. il, 7X 7750/9 Q) unliquidated

City "7 ? State ZIP Code Q Disputed
Who,ewes the debt? Check one. wo of lien. Check ail that apply.

Debtor 1 only An agreement you made (such as mortgage or secured

OC) Debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only Q Statutory tien (such as tax lien, mechanic’s lien)
OC) Atleast one of the debtors and another OQ) Judgment lien from a lawsuit

C) Other (including a right to offset) _
QC) Check if this claim relates toa

community debt ‘ by : e
Date debt was incurred Me 0 Last 4 digits of account number O 5 Z _

Add the dollar value of your entries iti Column A on this page. Write’that number here:

 

  

 

 

833 252 |

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of az

 

 
Case 19-17021

Witliam Clow?

Ph (ip

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1G- (702/

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Case number (if known),
First Name Middle Name : Last Name
Additional Page
After listing any entries on this page, number them beginning with 2.3, followed
by 2.4, and so forth.
.
C wf é Describe the property that secures the claim:
Creditors Najne =
th St Work 1001S
Number Street
As of.the date you file, the claim is: Check all that apply.
y
Keno Sha . W,500NSi'n Contingent
City 31 t State ZIP Code QO) unliquidated
5 4 $ QO Disputed
Whgowes the debt? Check one. ee lien. Check all that apply.
Debtor 4 only An agreement you made (such as mortgage or secured
QO Debtor 2 only car loan)

Q Debtor 4 and Debtor 2 only
CD Atleast one of the debtors and another

CU Check if this claim relates to a
community debt

Date debt was incurred

QO Statutory lien (such as tax lien, mechanic's lien)
Q Judgment lien from a lawsuit
O) other {including a right to offset)

Last 4 digits of account number a g L 8

 

 

 

 

 

 

 

 

 

 

 

Describe the property that secures the claim: $ $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply. ‘
Q Contingent
OQ Unliquidated
City State ZIP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

UO oogco

Check if this claim relates to a
community debt

Date debt was incurred

Q Disputed

Nature of lien. Check all that apply.

OQ) an agreement you made (such as mortgage or secured
car loan)

OQ Statutory lien (such as tax lien, mechanic's lien)

OQ Judgment lien from a lawsuit

OQ) other (including a right to offset)

Se

Last 4 digits of account number __

 

 

 

 

Creditor’s Name

 

Number, Street

 

 

City State ZIP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

0 oooo

Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A-on this page. Write that number here: $
If this is the last page of your form,

num Write that number here:
Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

Describe the property that secures the claim: $. $ $

 

 

 

 

As of the date you file, the claim is: Check all that apply.

Q Contingent

QO Unliquidated

Q) disputed

Nature of lien. Check all that apply.

Q An agreement you made (such as mortgage or secured
car loan)

Q Statutory lien (such as tax lien, mechanic's tien)

Q Judgment lien from a lawsuit

C2) Other (including a right to offset)

Last 4 digits of account number __

  

add the dollar value totals from all pages.

 

5244 S10 |
page Z of Zz

 

 

 
 

Case 19-17021 Doc15 Filed 06/06/19 Page 17 of 37

Fillin this information to identify your case:

ye 4 ‘ ih ,
Debtor 1 fap j L, 1am”
First Name# Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Last Name

United States Bankruptcy Court for neCoreeabelt District of M b
19-(102/

 

Middle Name

U) Check if this is an

Case number amended filing

{If known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any

needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

eee us All of Your PRIORITY Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

 

1. Do agy creditors have priority unsecured claims against you?
QWNo. Go to Part 2.
QQ Yes.

2. List all of your priority unsecured claims. lf.a creditor-has more than one priority.unsecured claim, list the creditor separately for each claim..For
each claim listed, identify what type of claim itis. If aclaim has both priority and:nonpriority amounts, list that claim here and show both priority:and
nonpriority, amounts. As much:as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1.-lf more than-one creditor holds a particular claim, list thé other creditors in Part 3.
(For:an explanation of each type ‘of claim, see the instructions for this.form in the instruction booklet.)

2.4
Last4 digits ofaccountnumber_—s «= S $. $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
; Q) Unliquidated
Who incurred the debt? Check one. a Disputed
CD Debtor 4 only
C2 Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only OQ Domestic support obligations
At least one of the debtors and another OQ) taxes and certain other debts you owe the government
O) Check if this claim is for a community debt Q Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
OQ no QO) other. Specify
QO) yes
2.2 | Last 4 digits of account number — — - __ 53 $ $
’ Priority Creditor's Name :
When was the debt incurred?

 

Number Street
As of the date you file, the claim is: Check al! that apply.
Q Contingent

City State ZIP Code QO) unliquidated

Who incurred the debt? Check one,

© Debtor 1 only

C Debtor 2 only

QO) Debtor 1 and Debtor 2 only

Oat least one of the debtors and another

OC) Check if this ciaim is fora community debt

Is the claim subject to offset?
Ono .
O) ves

Schedule E/F: Creditors Who Have Unsecured Claims

OQ Disputed

Type of PRIORITY unsecured claim:
Q Domestic support obligations
Q Taxes and certain other debts you owe the government

Q Claims for death or personal injury while you were
intoxicated

C) other. Specify

 

page 1 of i

rrr rar

 

 

 

 
 

owe Phulip “Wellian ‘Chou

5 Filed 06/06/19 Page 18 of 37

19-17Ox/

Case number (if known)

 

First Name Middle Name Last Name
ESSE vou PRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this Page, number them beginning with 2.3, followed by 2.4, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number Le $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
OQ Contingent
City State ZIP Code QO) unliquidated
q
Q) Disputed
Who incurred the debt? Check one. ‘
CO debtor 4 only Type of PRIORITY unsecured claim:
U Debtor 2 only QO Domestic support obligations
Q) Debtor 1 and Debtor 2 only .
QO) taxes and certain other debts you owe the government
O Atleast one of the debtors and another
CI ciaims for death or personal injury while you were
C) Check if this claim is for a community debt intoxicated
) other. Specify
Is the claim subject to offset?
No
O) Yes
Last4 digits ofaccountnumber_ = = iS, §
Priority Creditor’s Name :
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
CQ) Contingent
City State ZIP Code 1 unliquidated
QO) Disputed
Who incurred the debt? Check one.
Q) Debtor 1 only Type of PRIORITY unsecured claim:
OC) pebt
g bere an btor 2 onl Q Domestic support obligations
epror | and Debtor 2 only O) Taxes and certain other debts you owe the goverment
C) Atteast one of the debtors and another
QO Claims for death or personal i injury while you were
Q) Check if this claim i is for a community debt intoxicated
C1 other. Specify
: Is the claim subject to offset?
; No
C) Yes
Last4 digits ofaccountnumber_—s = iS, $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP ode C2) unliquidated
Q Disputed
Who incurred the debt? Check one.
Q Debtor 1 only Type of PRIORITY unsecured claim:
CY Debtor 2 on!
entor 2 only C) Domestic support obligations
Q Debtor 1 and Debtor 2 only .
OC taxes and certain other debts you owe the government
C) At teast one of the debtors and another a
Claims for death or personal i injury while you were
C) Cheek if this claim is for a community debt intoxicated
C2 other. Specity
Is the claim subject to offset?
OQ) No
Q) Yes

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

rer ear

 

paged of K

 
 

pe Case49-17021
Debtor 4 Ph ip { I am

Cu

Middle Name Last Name

ees All of Your NONPRIORITY Unsecured Claims

5 Filed 06/06/19. Page 19 of 37

19-7021

Case number (if known),

 

S

claims fill out the:Continuation Page of Part 2.

bk] sw

Nonpriority Creditor's Name

PO: Box 1830493

Number Street
columbus , OH 732/¥

Who, incurred the debt? Check one.

Wbentor 1 only

O) Debtor 2 only
O) Debtor 1 and Debtor 2 only
CO At least one of the debtors and another

QC) Check if this claim is for a community debt

wm subject to offset?
No

OC) Yes

3. Do any creditors have nonpriority unsecured claims against you?
Bee. You have nothing to report in this part. Submit this form to the court with your other schedules.
Ye

4. List all of your nonpriority unsecured’claims in the alphabetical order of the creditor who holds each claim: Ifa creditor has more than-one
nonpriority. unsecured ‘claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in.Part'1. If more than:one creditor holds a particular claim, list:the:other creditors in Part.3 If you ave more than three nonpriority unsecured

 

Last 4 digits of account number 4 4 G 3

When was the debt incurred? a Ol 7

As of the date you file, the claim is: Check aii that apply.

QO Contingent
Q) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

CO pebts to pension or profit-sharing plans, and other similar debts
Other. Specify _ Consumer. deb}

 

2} Credit One Bank

Nonpriority Creditors Name

lumber * treet a 0500
Cty of Ladsty, cA 4171

City” 1 State ZIP Code

Who/ncurred the debt? Check one.
Were 1 only

Q Debtor 2 only

QO) Debtor 1 and Debtor 2 only

O) Atteast one of the debtors and another

CI Check if this claim is for a community debt

Is the-claim subject to offset?
No
QO) Yes

Last 4 digits of account number 3 a A @ $ G a CO

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C1 Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

QO) pebts to pension or profit-sharing plans, and other similar debts
Other. Specify ¢ On 28 LHNC ¢ Leb 7

 

be | Direct TV

Nonpriority Creditors Name

44% Ave W Site [Yo

Number Street

 

 

Lyanuood, WA 4f035

oes the debt? Check one.
Debtor 1 only

Q Debtor 2 only
C Debtor 1 and Debtor 2 only
C) Atleast one of the debtors and another

QO] Check if this claim is for a community debt

eo subject to offset?
No

O) yes

 

Last 4 digits of account number sg 3 Ys

s ASO00
When was the debt incurred? a Of 7 ,

As of the date you file, the claim is: Check all that apply.

QO Contingent
C untiquidatea
Q Disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans .

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

OQ Debts to pension or profit-sharing plans, and other similar debts

Wome Specify Cortsumer ol

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

paged ot

 
 

Debtor 1 Phil i “We (liam

9-17021

First Name Middle Name Last Name

Cow 15 Filed 06/06/19 Page 20 of 37
Clo

Case number (if known)

Ea Your NONPRIORITY Unsecured Claims — Continuation Page

 

44

 

 

nem

Nonpriority Creditors Name

6 forth side pr.

Number 2.
. ‘
= C + State ZIP Code

aries the debt? Check one.

Debtor 1 only
O Debtor 2 only
O) debtor 1 and Debtor 2 only
CO) At least one of the debtors and another

Q) Check if this claim is for a community debt

we subject to offset?
No

O) yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and'so forth.

Last 4 digits of account number 2 GF i

When was the debt incurred? AO / qT

As of the date you file, the claim is: Check all that apply.

Q Contingent
O1 unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C) student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

ati to pension or profit-sharing plans, and other, similar debts
Other. specty Consumer clebt

I9-/{7O2]/

 

 

UChr Bank

 

ah 4p We Ki You Spr gS Bd

td Street

Longwood, F & 32779

 

Last 4 digits of account number f O34 a &

When was the debt incurred? 20 b/

As of the date you file, the claim is: Check all that apply.

s Ub

 

 

 

 

 

ee the debt? Check one.
Debtor 1 only

O) Debtor 2 only
OQ Debtor 1 and Debtor 2 only
©) atleast one of the debtors and another

C] Check if this claim is for a community debt

m— subject to offset?
No

O) Yes

City J State ZIP Code Q Contingent
Q) Untiquidated

Who incurred the debt? Check one. oO Disputed
debtor 1 only
OQ Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O student loans

At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as priority claims a

QC) pebts to pension or profit-sharing plans, and other similar debts

al Subject to offset? Other. specty Con Wtecr Leb f-

No
O) Yes

} Pp Last 4 digits of t b LG 3G s O
c C enney as igits of account number wf Ne
Nonpnority Creditor'§ Name [
When was the debt incurred? 20l/

O50! Cegaty Dr-

Number Sireet S As of the date you file, the claim is: Check all that appl
ol you file, claim is: Check all that apply.
fla no, Tx LO aY
State ZIP Code O) Contingent

QO) unliquidated
OQ Disputed

Type of NONPRIORITY unsecured claim:

2 Student toans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

ea to pension or profit-sharing plans, and other similar debts
oti

her. Specify Cansurgger Bed}

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Case, 19-17021
Debtor 1 Phi lp f (kam Clow Case number (i known) LG- [7 O21

First Name Middle Name Last Name

ron 2: NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

4 G lo bal Cred} ve Collechon Last 4 digits of account number ad L vy $ Y i/19
5 HY 40 Nv Cu mt era nd Ave. When was the debt incurred? ol / /

 

Number
As of the date you file, the claim is: Check all that apply.
Chicago, LL GOC5E
City ine State ZIP Code Q) Contingent
: (} Unliquidated
Who incurred the debt? Check one. QO Disputed
Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:

Q Debtor 1 and Debtor 2 only

(Student ioans
C) at least one of the debtors and another

QO Obligations arising out of a separation agreement or divorce that
oe did not report as priority claims :
OQ) pebts to pension Comer plans, and other s efhe debts i
Other. Specify WIS “Ime de

CJ Check if this claim is for a community debt

Is the claim subject to offset?

No
QO) Yes

Hg) “ie = Last 4 digits of account number MY bo & 5 $ 6 §00
B.A —& XY 307 OF When was the debt incurred? x O l 7

 

 

 

Numbe
jamber idgton, M /V 5 5 4 3 g As of the date you file, the claim is: Check all that apply.
City State ZIP Code C) Contingent
QO unliquidated
lr aaa the debt? Check one. C disputed
Debtor 1 only

OQ Debtor 2 only Type of NONPRIORITY unsecured claim:
Q) Debtor 1 and Debtor 2 only ,

OQ student loans
C) At teast one of the debtors and another

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CD debts to pension or profit-sharing plans, and other similar debts

we subject to offset? C) other. Specity ( onsdmer e€4 -
No
O Yes

Le ft} arth Star loatm Svcs, Lic Last 4 digits of account number 5 g wa 4 .b, bbd

Nonpriority Creditors Name

ek G Genesee s+ When was the debt incurred? aolb

C) Check if this claim is for a community debt

 

 

 

Number Street WwW. a ( 2 2S As of the date you file, the claim is: Check all that apply.
City State ZIP Code O Contingent
C1} unliquidated
wee the debt? Check one. Q bisputed
Debtor 1 only
OQ) debtor 2 only Type of NONPRIORITY unsecured claim:

C2) Debtor 1 and Debtor 2 only

O) Student ioans
CO Atleast one of the debtors and another

QO Obligations arising out of a separation agreement or divorce that

C) Check if this claim is for a community debt you did not report as priority claims

QC) Debts to pension or profit-sharing plans, and other similar debts
i opetaim subject to offset? OQ other. specity Con?Sumer Seb +
No .

C) Yes

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page, of 4

 

 
 

Case 19-17021 Doc
Witham Clo

Middie Name Last Name

Philip

First Name

Debtor 1

 

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19-/7O2Z/

Case number (it known),

ron 2 NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

N. LIS

ms) Wan Name

_-0- fo 572097
fa ne, CA.

ae the debt? Check one.
Debtor 1 only

CQ Debtor 2 only
O) Debtor 1 and Debtor 2 only
CO Atteast one of the debtors and another

State ZIP Code

Q Check if this claim is for a community debt

we subject to offset?
No

CI Yes

After listing any entries. on this:page; number them beginning with.4.4; followed by 4.5, and so forth.

Last 4 digits of account number _—_! 'o G /

When was the debt incurred? a ( ? t 5

As of the date you file, the claim is: Check all that apply.

QO Contingent
C} Unliquidated
oO Disputed

Type of NONPRIORITY unsecured claim:

Q Student loans

Oo Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) pebts to pension or profit-sharing plans, and other simjlar debts

other. specty Ce SUL VICY

 

 

 

4 Orchard Kd ste sad

Number

Foret Fotet, CA FY2b3d

State ZIP Code

Who incurred the debt? Check one.

ebtor 1 only
C debtor 2 only
Q Debtor 1 and Debtor 2 only
QC Atieast one of the debtors and another

Q Check if this claim is for a community debt

ee subject to offset?
No

Last 4 digits of account number 7 @ o f
When was the debt incurred? , 20] /

As of the date you file, the claim is: Check ail that apply.

Q Contingent
Q) Unliquidated
C] Disputed

Type of NONPRIORITY unsecured claim:

oO Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

tf pets to pension or profit-sharing plans, and otheg similar debts
One specty COISUIMEY hed f

Vy OG

 

 

Ja9 Canton St
onwood, ME 620 2

State ZIP Code
sti the debt? Check one.
Debtor 1 only

Q) Debtor 2 only
(2 Debtor 1 and Debtor 2 only /
C) At least one of the debtors and another

Cl) Check if this claim is for a community debt

~~ subject to offset?
No .

ves

 

C Yes
4 : = oe.
(. C S Us A, Last 4 digits of account number _/- qY g @ 53 90-00
Nonpriority Cfeditors G

When was the debt incurred? a oO L Sy

As of the date you file, the claim is: Check all that apply.

Q Contingent
QV unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

OQ) Student toans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q its to pension or profit-sharing plans, and other similar debts
Other. Specify ¢ ern Slé mer led ot

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

page é of XY
 

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I9-/7O2Z/

Case 19-17021 Doc

Philp Witham Clo

First Name Middle Name Last Name

ron 2 NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this. page, number them beginning with 4.4, followed by 4.5, and so forth.

MI HS WV. iL / L L C Last 4 digits of account number Y 4 20

Debtor 1 Case number (it known),

 

 

 

 

 

~e, ‘O . Name Bo x [R gO

Oa KS pr A £74 o 6. Code

we the debt? Check one.

Debtor 1 only
Q) Debtor 2 only
Q Debtor 1 and Debtor 2 only
© Atleast one of the debtors and another

QO) Check if this claim is for a community debt

we subject to offset?
No

C) Yes

When was the debt incurred? 0! G

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q Unliquidated
C) disputed

Type of NONPRIORITY unsecured claim:

Q student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

O debts to pension or profit-sharing plans, and other similar debts
Other. Specify

 

>
‘wal

 

4 Lash flet USA

 

 

Last 4 digits of account number LO 3 +

Nonpriority Creditors Nat
V; 0d When was the debt incurred? , ALG
L715 W Jackson Blvd _*

Chicago, ZL c 6069Y

State ZIP Code
we the debt? Check one.
Debtor 1 only

| Debtor 2 only
QO Debtor 1 and Debtor 2 only
CI At teast one of the debtors and another

Cl) Check if this claim is for a community debt

we subject to offset?
No

Q Yes

As of the date you file, the claim is: Check ail that apply.

QO Contingent
OQ) unliquidated
Q) bisputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

O bts to pension or BU Cl oy va val: other similar debts

Other. Specify. 0a Yr)

 

sH70

 

 

Max Lend
“P.O. 000 639

 

“Porshe NO _ 58770

City State ZIP Code

ve patres the debt? Check one.
Debtor 1 oniy

CY pebtor 2 only
O) Debtor 4 and Debtor 2 only /
Oat least one of the debtors and another

(J Check if this claim is for a community debt

we subject to offset?
No

Q Yes

Last 4 digits of account number & o Z oO
When was the debt incurred? a O f ©

As of the date you file, the claim is: Check all that apply.

QO Contingent
O) unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

O) Student ioans

| Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

yee to pension or Dave Vole and 10 similar debts
Other. Specify a [0 ar)

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

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page 7 of t

 
 

Case 19-17021

Philo Witham Clow

First Name Name Last Name

Debtor 1

 

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19-/7O2/

Case number (it mown),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

Hid Geen Trust Cash

Nonpriority Creditors Name

tt: O- £5 340
—Har}s., MT SH 27

State ZIP Code
meni the debt? Check one.
Debtor 1 only

C2 Debtor 2 only
© Debtor 4 and Debtor 2 only
C] Atleast one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?
jo

QD ves

After listing any entries on this ‘page, number them beginning with 4.4, followed by 4.5, and'so forth.

Last 4 digits of account number. q L s
When was the debt incurred? a 0 / 7

As of the date you file, the claim is: Check all that apply.

QO Contingent
QO Unliquidated
) Disputed

Type of NONPRIORITY unsecured claim:

Q) student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO debts to pension or profit-sharing plans, and other similar debts
OF other. specify ay L044)

 

s WO

 

me

ld Apne Arurde/ Mel cal Cor

 

 

Nonpriority Creditor’s N
O. Box Cag lb
Number Stteet
, mM
City State IP Code

Who incurred the debt? Check one.

ebtor 1 only
QO Debtor 2 only
Q) debtor 1 and Debtor 2 only
O Atieast one of the debtors and another

Cl Check if this claim is for a community debt

oe subject to offset?
0

O) Yes

Last 4 digits of account number a 6 bj b
When was the debt incurred? : 6d O/ F

As of the date you file, the claim is: Check all that apply.

Q Contingent
QO) unliquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

CO) stuaent loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

ea to pension or profit-sharing lans, and other similar debts
Other. Specify Mec i Ca /

L059

 

lhe
~~

MEE RS DoT
_ O- Box FOV O
Ct Ocnnat,' , oO /# YS 0

State
Who ingurred the debt? Check one.
Oe 1 only

C1 debtor 2 only
O) Debtor 4 and Debtor 2 only
O Atteast one of the debtors and another

CI Check if this claim is for a community debt

~~ subject to offset?
No .

QO) ves

 

Last 4 digits of account number A / 4

When was the debt incurred? A2/>

As of the date you file, the claim is: Check all that apply.

OQ) Contingent
CQ) Untiquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans

QO Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims
QO) debis to pension or profit-sharing plans, and other similar debts

Other. Specify 7 +

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

page g of Lil
Wil liam Clo

Middle Name Last Name

Debtor 1 p h if p

First Name

Case 19-17021 ow Filed 06/06/19 Page 25 of 37

Case number (if known), l q - / 7 Oo xX /

ron 2 NONPRIORITY Unsecured Claims — Continuation Page

Hy \/¢ N'toh

After listing any entries on this: page, number them beginning with 4.4; followed by 4.5, and so forth.

 

Nonpriority Creditors Name

My £00 |2

State ZIP Code

Number

Y
City "OF

Who incurred the debt? Check one.
oor 1 only

C) Debtor 2 only

Q debtor 1 and Debtor 2 only

C) At least one of the debtors and another

QO Check if this claim is for a community debt

 

Last 4 digits of account number a IIS
When was the debt incurred? a O / (fy

As of the date you file, the claim is: Check all that apply.

s 1d

QO Contingent
(2 unliquidated
) Disputed

Type of NONPRIORITY unsecured claim:

) Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
O bebts to pension or profit-sharing plans, and other similar debts

 

 

 

 

 

Who incurred the debt? Check one.

O) Debtor 1 only

C pebtor 2 only

QO debtor 1 and Debtor 2 only

O) Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

3 No
Q ves

we subject to offset? Other. Specify
No
CJ Yes
| Last 4 digits of account number _ $
Nonpriority Creditors Name
When was the debt incurred?
Number Street
saver As of the date you file, the claim is: Check all that apply.
City State ZIP Code O contingent

OQ) unliquidated
CQ Disputed

Type of NONPRIORITY unsecured claim:

QO student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CI Debts to pension or profit-sharing plans, and other similar debts
C) other. Specify

 

 

 

Nonpriority Creditors Name

 

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

O) debtor 1 only

QC) bebtor 2 only

OQ Debtor 1 and Debtor 2 only

Oat least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

OQ) No
CI Yes

 

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
C) Untiquidated
Q) disputed

Type of NONPRIORITY unsecured claim:

C1 Student ioans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CJ Debts to pension or profit-sharing plans, and other similar debts

Cl] other. Specify

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page g of LL

arma

 

 
. § Use this page only if you have others to be n

-17021

Debtor 1 Ph tl. D Wil ify) Ch

irst Name | Middle Name Last Name

Doc 1

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1Q-172/

Case number (if known),

 

example, if a collection agency is trying toc

additional creditors here. If you do not have additi

LYVV Eund ia, Lec

Name

P_0- Bon (D497

Number Street

otified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

ollect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
onal persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

AIGD3

State ZIP Code

Greenville, SC
APM , tec

 

 

 

 

YH ye W. Sui‘be 40
tynnwood , WA F035

ey Others to Be Notified About a Debt That You Already Listed

On which entry in Part 1 or Part 2 did you list the original creditor?

Line H.Z_ of (Check one): ~~, 1: Creditors with Priority Unsecured Claims
Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 3 3 FT G

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4,3 of (Check one): oe 1: Creditors. with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number x 0. aA &

 

AU TVaN Finanwal LP file
Age [4th flenve Gos

Street

 

arte, MW 5 6377

State ZIP Code

rEwne t

Name

10 700V ASH Ave Sh yo

 

 

 

Number Street
faoenix, AZ F502)
City State ° ZIP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.) of (Check one): O Part 1: Creditors with Priority Unsecured Claims

@Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number 33 9g f
On which entry in Part 4 or Part 2 did you list the original creditor?

Line M$ of (Check one): Q Part 1: Creditors with Priority Unsecured Ciaims

Part 2: Creditors with Nonpriority Unsecured
Claims —

Last 4 digits of account number i a LY ¥

 

 

Official Form 106E/F

tMen'can Coracl, US
AY 2p Sweet Home Le

Number Street

ste {50
Him hers} V4 [922¥

State ZIP Code

fnter Wack, ej

wile 2D LWexdh lord Corp ie

Number Street

 

Cc State ZIP Code

fe , Cag tal id
P.O» Box 63002

Nimber Street

Jampa, FL 323GI14

 

_C lum bus. OH 43aly

City ZIP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line Us of (Check one): we 1: Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured
Claims .

Last 4 digits of account number 2 Og 7

On which entry in Part 1 or Part 2 did you list the original creditor?

 

Line 4 13 of (Check one): on 1: Creditors with Priority Unsecured Claims
P

art 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number f 3 A Gg

On which entry in Part 1 or Part 2 did you list the original creditor?

tine Mel , of (Check one): we 1: Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured
Claims .

Last 4 digits of account number d 2 a 9 :

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 
 

 

Casq 4149-17021 Doc 1 Filed 06/06/19 Page 27 of 37
WW, mam Cc 01 Case number (it known) 19 7 / T02/

First Name © © Middle Name Last Name

fg «: the Amounts for Each Type of Unsecured Claim

Debtor 1 h | [ QD
{

Add the amounts for each type of unsecured claim.

Total claim

. ligati 6a. (D
Total claims 6a. Domestic support obligations a $
from Part 1

&b.,Taxes and certain other debts you owe the
government 6b. $ @ { LOG

6c. Claims for death or personal injury while you were

intoxicated 6c. $ ( ] )
6d. Other. Add all other priority unsecured claims.

Write that amount here. 6d. 4 $ ( B

6e. Total. Add lines 6a through 6d. > 6e.
t . « :

 

 

 

 

 

 

e
6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority DPD
claims 6g. $

6h* Debts to pension or profit-sharing plans, and other
similar debts . 6h. $ D

-, §i. Other. Add all other nonpriority unsecured claims. <p AS Hf ‘3 2.
”"- Writetthat amount here. 6i. +

_ Total claims 6f. Student loans . 6f. $ D
_ from Part 2

 

 

 

 

 

 

 

6}. Total. Add lines 6f through 6i. Gj. 5 Ae “4 4 2.

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

 

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

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Fill in this information to identify your case:

Debtor Phili'p Wil Lam Cfow

 

       
  

 

First Name Middle Name “TastName
Debtor 2
(Spouse If filing) First Name Middle Name Last Name

       

United States Bankruptcy Court for the: Greenbetfoistrict of M Dp
Case number | q~ tl Od )

{If known)

    
 
 

Q) Check if this is an
amended filing

  

 

Official Form 106G

 

Schedule G: Executory Contracts and Unexpired Leases 12145

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
LI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2, List separately each person or company with whom you have the contract or lease. Then State what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company. with whom you have the contract or lease State what the contract or lease is for :

 

Name

 

Number Street

 

City State ZIP Code
2.2

Name

 

 

Number Street

 

City State ZIP Code

2.3

 

Name

 

Number Street

 

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code
2.5

Name

 

 

Number Street

 

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of Lh

ae

 
 

First

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coor PALO Welliam Cow

Name

Cast Name

i Additional Page if You Have More Contracts or Leases

 

Person or.company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

State

ZIP Code

Case number (if known)

What the.contract or lease is for

 

IG- (70a/

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

 

Number

Street

 

‘City

 

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

 

 

Official Form 106G

aera rrr

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

 

page oLof 2
Case 19-17021 Doc15 Filed 06/06/19 Page 30 of 37

  
  

  

Fill in this information to identify your case:

Debtor 1 Phyl 0 Willam Clo

FirstName * { Middle Name Last Name

  
      
 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for wre: CofE bebeistrict of [ y 1 D
Case number IG =~ 7 © a )

{If known)

 

     
      
   

QQ) Check if this is an
amended filing

Official Form 106H .
Schedule H: Your Codebtors . 12/45

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. peo any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
0 .

Q) Yes
2. Within the last 8 years, have you lived ina community property state or territory? (Community property states and territories include
wa California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
No. Go to line 3.
Q) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

C) No

Q) Yes. In which community state or territory did you live? - Fill in the name and current address of that person.

 

 

Name of your spouse, former spouse, or legal equivatent

 

Number Street

 

City - State ZIP Code

3. In Column 4, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

Column 1: Your codebtor Column:2: The creditor to whom you owe the debt

 

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
7 Q) Schedule D, line
lame rs
QO) Schedule E/F, line
Number Street C) Schedule G, line
City senate sn State FI Ode
3.2
Name QC) Schedule D, line
Q) Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
3.3
NaN Q) Schedule D, line
Q) Schedule E/F, line
Number Street QO) Schedule G, line
i City on tate — FN i
Le
Official Form 106H Schedule H: Your Codebtors page 1 of of,

ara

 
 

Case 19-17021 Doc15 Filed 06/06/19 Page 31 of 37

coe Lili William co

First Name } Middle Name

 

Last Name

 

 

 

[4= l'76024
Case number (ft known)

| Additional Page to List More Codebtors

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your. codebtor Column 2: The creditor to whom you owe the debt
Pe] Check all schedules that apply:
3.
C1 Schedule D, tine
Name oo
() Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
P|
QO) Schedule D, line
Name ——_
Q) Schedule E/F, line
Namber Street (2 Schedule G, line
City State ZIP Code
a
y “Q) Schedule D, line
ame eo
Q) Schedule E/F, line
Number Street" QO) Schedule G, line
__ City State ZIP Code
|
Name ) Scheduie D, line
() Schedule E/F, line
Number Streat OQ) Schedule G, line
City State ZIP Code
|
Name Q) Schedule D, line
C) Schedule E/F, line
Number Street U Schedule G, line
City State ZIP Code
P|
Name Q) Schedute D, line
O) Schedule E/F, line
Number Streat Q) Schedule G, line
City _ State ZIP Code
a
Name Q) Schedule D, line
Q) Schedule E/F, line
Number Street (I Schedule G, line
City State ZIP Code
B_ |
Name QO) Schedule D, line
C) Schedule E/F, line
Number Street CO) Schedule G, line
City State ZIP Code

 

 

Official Form 106H

Schedule H: Your Codebtors

ar rea

 

page oLof a
Case 19-17021 Doc15 Filed 06/06/19 Page 32 of 37

Fill in this information to identify your case:

better Philip William Clow

Middle Name Last Name

First Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

United States Bankruptcy Court for nerenbelpistrict of I Y ) | )
Case number | A = C7 Oa ) Check if this is:

{If known)
Q) An amended filing

QA supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 WM DDT YWwY

Schedule I: Your Income 1215
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

[Part 4: | Describe Employment

1. Fillin your employment

 

 

 

 

 

information. Debtor 1 og Debtor 2 or.non-filing spouse
If you have more than one job,

attach a separate page with we

information about additional Employment status mployed QO) Employed

employers. C) Not employed {) Not employed

Include part-time, seasonal, or

self-employed work. Occupation Srl y S hy 0 Ke fa (man

Occupation may include student

or homemaker, if it applies.
. Empioyer’s name Mork boro Rute Bly In ¢
Employer's address I Q aq Mor lhow Pie

Number Street Number Street

 

 

Urper Mar iboro mo

City State ZIP Code City State ZIP Code

How long employed there? | \ { Yt. 2011 ol
Ee cv. Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ G A OD $

3. Estimate and list monthly overtime pay. 3. +3 oO + $

4. Calculate gross income. Add line 2 + line 3. 4. 5, B00 $

 

 

 

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 

 
Case 19-17021 Doc15 Filed 06/06/19 Page 33 of 37

Debtor 1 p hu lip WW (liam (Oi

First Name Middle Name Last Name

cosenmvervmn_ 14-1700 1

 

For Debtor1 For Debtor 2 or

 

5. List all payroll deductions:

-non-filing spouse _

Copy line 4 Mere... ceccccccscssssscscsesseessssessssesssessssssucssesacsavearsaneatsunserssecsunensees > 4. s5,300_ $F

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. s "BSF $
5b. Mandatory contributions for retirement plans 5b. §$ oO $.
5c. Voluntary contributions for retirement plans bc.  $§_©O $
5d. Required repayments of retirement fund loans 5d. §$ oO $
5e. Insurance se. $_@O $
5f. Domestic support obligations 5f. $ O $
5g. Union dues 5g. s_Q) $
5h. Other deductions. Specify: 5h. +3 O + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f+5g+5h. 6. $ 7 95 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $. 4 j i g15 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm .
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ O 5

 

monthly net income. 8a.

8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive

Include alimony, spousal support, child support, maintenance, divorce

8b. Interest and dividends 8b. § { 2 $e

 

 

 

 

 

 

 

 

 

 

 

 

 

| s_O s
settlement, and property settlement. 8c.
8d. Unemployment compensation : 8d. sO. $
8e. Social Security 8e. § C $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies. O
Specify: af 0 $ $
8g. Pension or retirement income 8g. §$ O $
8h. Other monthly income. Specify: 8h. +$ © tg
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9. $ © $
10. Calculate monthly income. Add line 7 + line 9. | 5 + CQ = |s 4 gic
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. sH i 7 $__

 

11, State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13. Do yal expect an increase or decrease within the year after you file this form?
No.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

1.64 § O

12.

 

 

54,819

 

Combined
monthly income

 

C) Yes. Explain:

 

 

 

 

Official Form 1061 Schedule I: Your Income

page 2

 

 

 
 

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Fill in this information to identify your case:

Debtor 1 Philio Witham Clpw”

FirstName iddle Name Last Name Check if this is:

Debtor 2 :
(Spouse, if filing) First Name Middie Name Last Name a An amended filing

LJ A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Green hel vistrict of MO

expenses as of the following date:
Case number ]O — (7 Or]

{If known)

 

MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. ee. joint case?
No. Go to fine 2.
(J Yes. Does Debtor 2 live ina separate household?

No
L} Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? oA
y P No Dependent’s relationship to Dependent's Does dependent live

Do not list Debtor 1 and CJ Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... eee

 

 

ON
Do not state the dependents’ QO °
names. Yes
CQ) No
UL) Yes

QI No
C) Yes

QO) No
OC) Yes

BN
C) Yes

 

 

 

 

 

 

3. Do your expenses include ew

expenses of people other than oO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

: Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) ‘Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and
any rent for the ground or lot. 4, s1,200

If not included in line 4:

4a. Real estate taxes 4a. s_ OQ

4b. Property, homeowner's, or renter’s insurance 4b. $ ©

4c. Home maintenance, repair, and upkeep expenses 4c. s 100
4d. Homeowner's association or condominium dues ‘ 4d. $s  O.

Official Form 106J Schedule J: Your Expenses page 1

 

 

 

 

 
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cor Phulio William Clow cmenaniwn 14-17 021

Your expenses

5. Additional mortgage payments for your residence, such as home equity loans 5. sD

6. Utilities:

6a. Electricity, heat, natural gas 6a. MoO
6b. Water, sewer, garbage collection “6b. $ s O
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 13 5
6d. Other. Specify: 6d. §.
7. Food and housekeeping supplies 7. $. B00
8. Childcare and children’s education costs 8. $ O
9. Clothing, laundry, and dry cleaning 9. $. f OO
10. Personal care products and services 10. $ d O O
11. Medical and dental expenses 1. § ©

12. Transportation. Include gas, maintenance, bus or train fare. .
Do not include car payments. 12.

 

13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $. O

14. Charitable contributions and religious donations 14. s 4400

45. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance ha. § ( >
15b. Health insurance 15b.  §$ ©

15c. Vehicle insurance 186. s__J5SO
$

15d. Other insurance. Specify: 15d.

16. Taxes. Do not include taxes deducted from your pay or included in {ines 4 or 20. l O oO
Specify: Zz R Ss 16. §

17. Installment or lease payments:

 

 

17a. Car payments for Vehicle 1 17a. s 185
17b. Car payments for Vehicle 2 , 17b. sO.
17c. Other. Specify: 17¢. sO
17d. Other. Specify: 17d. $ Oo

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule J, Your Income (Official Form 1061). 18. g O

19. .Other payments you make to support others who do not live with you.
Specify: 19. § C

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property 20a. s §O

 

20b. Real estate taxes 20b. ss Oe
20c. Property, homeowner's, or renter’s insurance : 20c. s OO ._
20d. Maintenance, repair, and upkeep expenses 20d. s  O.
20e. Homeowner's association or condominium dues 20e. s = OC

Official Form 106J Schedule J: Your Expenses page 2

 

 
 

 

 

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Debtor 1 Ph Wit | a WV (! [0 W Case number (if known)

First Name " Migdle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule L
23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
oe payment to increase or decrease because of a modification to the terms of your mortgage?
No

21.

22a.

22b.

22c.

23a.

23b.

23c.

[9-lIo2/

+$ O

 

 

 

 

 

 

 

 

 

 

 

C) Yes. Explain here:

 

 

 

Official Form 106J Schedule J: Your Expenses

page 3

 
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a AS Re PTR tics

Debtor 1

 

First Name . Middle Name ~ Last Name

Debtor 2 le :
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: : District of
case number __| Y~ L7o2/ Ahi NA
(If known) TV ‘ .
C) Check if this is an
. , amended filing

 

 

Official Form 106Dec .
Declaration About an Individual Debtor’s Schedules 42416

If two married people are filing together, both are equally responsible for supplying correct Information.

You must file this form whenever you file bankruptcy schedules or amended schedules, Making a false ‘statement, concealing property, or
obtaining money or property by fraud In connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to 20:
years, or both, 18 U.S.C. §§ 162, 1344, 4519, and 3571,

re: Below

'

 

Did you pay or agree to pay someone who js NOT an attorney to help you fill out bankruptcy forms?

OC) No ; .

Ci Yes, Name of person, . Attach Bankrupicy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that [ have read the summary and schedules filed with this declaration and :
that they are true and correct. :

: ; Signature of ne 1: : Signature of Debtor 2

“ft
Date 6 6 2p Ig "Date
: NM -DD Tt Wy i MMT DO-1 YYYY

 

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules <

 
